Case 1:16-cr-00371-RA Document 402-2 Filed 04/11/18 Page 1 of 13




                    EXHIBIT 2
     E3drbon1
      Case 1:10-cr-00228-LTS
      Case 1:16-cr-00371-RA Document
                             Document402-2 Filed04/04/14
                                      944 Filed  04/11/18 Page        13 11631
                                                           Page12ofof150

1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x

3    UNITED STATES OF AMERICA

4                v.                               10 Cr. 228 (LTS)

5    DANIEL BONVENTRE,
     JEROME O'HARA,
6    GEORGE PEREZ,
     ANNETTE BONGIORNO,
7    JOANN CRUPI,
                                                  Jury Trial
8                      Defendants.

9    ------------------------------x
                                                  New York, N.Y.
10                                                March 13, 2014
                                                  9:50 a.m.
11
     Before:
12
               HON. LAURA TAYLOR SWAIN
13
                                                  District Judge
14

15
               APPEARANCES
16

17   PREET BHARARA
          United States Attorney for the
18        Southern District of New York
     MATTHEW L. SCHWARTZ
19   RANDALL W. JACKSON
     JOHN T. ZACH
20        Assistant United States Attorneys

21
     GORDON MEHLER
22   SARAH LUM
          Attorneys for Defendant O'Hara
23

24   LARRY H. KRANTZ
     KIMBERLY A. YUHAS
25        Attorneys for Defendant Perez

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
     E3DPBON2
      Case1:10-cr-00228-LTS
      Case                      Summation
           1:16-cr-00371-RA Document
                            Document 402-2  - 04/04/14
                                               Mr.
                                           Filed
                                     944 Filed      Jackson
                                                 04/11/18  Page
                                                          Page 263 of 13 11656
                                                                   of 150

1    sheets, right?

2              We looked at thousands of -- you saw that there were

3    thousands and thousands of pages of information that

4    Miss Bongiorno created during the course of the time that she

5    was at Madoff Securities.      Did we know if she balled up every

6    random sheet?    I don't know.     You saw one because that's an

7    example of what she did.      You also saw all of the fake account

8    information, all of the fake client statements that went out

9    time after time, and there's no dispute it was fake.

10             The randomization was part of her job.         It was part of

11   Mr. O'Hara and Mr. Perez's job that they were doing on behalf

12   of Miss Crupi.    It was a part of Madoff Securities.         It was a

13   critical part, and it's one thing that all by itself exposes

14   that these defendants knew that the trading was entirely fake.

15             What's a fifth reason that you should reject this

16   argument that they didn't know that the trading was fake?

17   Well, what about the fact that the accounts that they managed

18   always managed to get this very consistent, reasonable rate of

19   return?   Very consistent rate of return, I think some people

20   talked about, was around 18 percent most years.          Some of the

21   articles talked about the fact that Bernie was beloved because

22   he had a consistent rate of return.

23             These people have suggested to you that they believed

24   plausibly that Bernard Madoff could pull any security in the

25   market, going back as far as 12 years, just pick any time that

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
     E3DPBON2
      Case1:10-cr-00228-LTS
      Case                      Summation
           1:16-cr-00371-RA Document
                            Document 402-2  - 04/04/14
                                               Mr.
                                           Filed
                                     944 Filed      Jackson
                                                 04/11/18  Page
                                                          Page 274 of 13 11657
                                                                   of 150

1    it was bought and any sell date and just add that in and it

2    would be totally legit because he had so much market volume.

3    Well, if he could do that, if they really believed that you

4    could do that at any time, why are the rates of return so

5    consistent?

6              THE COURT:    Mr. Jackson, please be careful about

7    "they" and "these people" in relation to particular issues and

8    accusations.

9              MR. JACKSON:     Absolutely, your Honor.      I'm just trying

10   to be efficient, but I will use names.

11             THE COURT:    Well, justice demands precision.

12             MR. JACKSON:     And all of these demands are reasonable.

13             So just to go back to what we were talking about, why

14   are the rates of return so consistent?         Why don't you see some

15   people just popping off of the charts?         I mean, wouldn't it

16   have been easy for them to just grab Apple stock right before

17   the iPod was invented on any particular day and, you know, put

18   the sell date of now and have a gabillion dollars in any given

19   day, under their understanding of what Mr. Madoff was capable

20   of doing?

21             And they didn't do that, though.        They kept the rates

22   of return for the customers consistent and reasonable.           Why?

23   They wanted it to look realistic.        They didn't want eye-popping

24   numbers that wouldn't look realistic.        That's the only reason.

25             THE COURT:    Is the "they," Madoff Securities?        Is the

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
     E3DPBON2
      Case1:10-cr-00228-LTS
      Case                      Summation
           1:16-cr-00371-RA Document
                            Document 402-2  - 04/04/14
                                               Mr.
                                           Filed
                                     944 Filed      Jackson
                                                 04/11/18  Page
                                                          Page 285 of 13 11658
                                                                   of 150

1    "they" particular defendants?       Please be precise.

2              MR. JACKSON:     Absolutely, your Honor.

3              THE COURT:    Thank you.

4              MR. JACKSON:     Ms. Crupi and Ms. Bongiorno wanted to

5    keep it looking realistic.

6              Let me move on.     What's another reason that you know

7    that they knew that the trading was fake, that you should

8    reject this argument that they didn't know that the trading was

9    fake?   Well, their own words tell you that.        There was a note

10   that Mr. Riopelle used during the course of the trial.           There

11   was a lot of talk about it, where he referenced Miss Bongiorno

12   writing on something, Don't do anything until you hear from

13   Bernie.

14             Don't do anything until you hear from Bernie, what

15   does that note mean?     Who has to write a note like that to

16   themselves?    A person who will often do things without hearing

17   from Bernie.    I mean, you don't have to write that note if

18   Bernie Madoff is the person who gives you detailed instructions

19   on every single thing that you should be doing.          You do have to

20   write that note if you are an autonomous individual who manages

21   the fake investment advisory business and often makes your own

22   decisions about how things are supposed to go down.           Their own

23   words tell you that they knew that the trading was fake.

24             Let's also look at Government Exhibit 105-B504.           This

25   is the other note.     If you could blow up the top half,

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
     E3DPBON2
      Case1:10-cr-00228-LTS
      Case                      Summation
           1:16-cr-00371-RA Document
                            Document 402-2  - 04/04/14
                                               Mr.
                                           Filed
                                     944 Filed      Jackson
                                                 04/11/18  Page
                                                          Page 346 of 13 11664
                                                                   of 150

1              I can't emphasize more what the Judge just said.           What

2    I'm saying is argument.      What all the defense attorneys have

3    said is argument.     But what I'm asking you to do is look at the

4    facts, look at the reality of the situation, and probably after

5    we take a break, I want to focus specifically on the subject of

6    what is argument versus reality.

7              And we'll get to that in a moment, but just to tie up

8    the last thing I was saying about the Wall Street Journal

9    articles and the Bloomberg research.        If you think that the

10   trading is actually happening somewhere, why do you need to go

11   to periodicals to research trades?        Wouldn't you, at some point

12   in the decades that you were working there, said, well, let's

13   just get the information from the actual trades?          Whether it's

14   upstairs or in Europe, why don't we just get the information of

15   the actual trades?     Of course you would.

16             You only need to go to the Wall Street Journal to look

17   up historical prices.      You only need to go to Bloomberg to do

18   that if you know that what you're doing is a fantasy, it's all

19   made up, and you can do whatever you want.         The notion that

20   these defendants didn't know that the trading was fake is an

21   absurdity.    It's completely inconsistent with the evidence,

22   with common sense and with logic.        You should reject it.

23             And, your Honor, I could continue, or I don't know if

24   this is --

25             THE COURT:    Yes, we can take our morning break now.

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
     E3DPBON2
      Case1:10-cr-00228-LTS
      Case                      Summation
           1:16-cr-00371-RA Document
                            Document 402-2  - 04/04/14
                                               Mr.
                                           Filed
                                     944 Filed      Jackson
                                                 04/11/18  Page
                                                          Page 357 of 13 11665
                                                                   of 150

1              MR. JACKSON:     Thank you very much, your Honor.

2              THE COURT:    Members of the jury, we'll take our

3    ten-minute morning break now.       Thank you for your attentive

4    work.   Continue to keep your minds open and your thoughts to

5    yourselves.    All rise.    Ms. Courtney, would you please escort

6    the jury out.

7              (Jury exits)

8              Please be seated for a moment.        So, Mr. Jackson, in

9    the rebuttal in a five-defendant case, where there are hundreds

10   of thousands, if not millions, of page of documents, one has to

11   be -- the government has a responsibility to be accurate when

12   it is purporting to describe evidence.         To the extent the

13   government is arguing inferences to be drawn from evidence that

14   may or may not literally say what the government is claiming

15   should be inferred from it, that distinction must be made.

16             And so the theys, the things that sound like

17   quotations that may not be, must be very, very careful, and I'm

18   not saying that I know the record well enough to know whether,

19   you know, every single one of the characterizations of the

20   record was spot on or not, but I do know enough to be

21   concerned.    And I know that the prudent way to approach this is

22   to say, you know, you should draw from the evidence as to such

23   conclusion.

24             MR. JACKSON:     Your Honor, I will definitely endeavor

25   to be as precise as possible.       The only thing I would say with

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
     E3DPBON2
      Case1:10-cr-00228-LTS
      Case                      Summation
           1:16-cr-00371-RA Document
                            Document 402-2  - 04/04/14
                                               Mr.
                                           Filed
                                     944 Filed      Jackson
                                                 04/11/18  Page
                                                          Page 368 of 13 11666
                                                                   of 150

1    regard to the "they," I'm going to definitely add names and may

2    get more precise.     I thought some of the theys I was referring

3    to arguments that I believe all defendants had made, but I'm

4    going to undertake to follow your Honor's good suggestion to

5    add more -- good, good instruction to add more precision.            It

6    may lengthen me out just a little bit, but I'm going to do

7    that.

8              THE COURT:    Very good.    And to the extent you're

9    arguing there was a situation at Madoff Securities and the

10   "they," which it seemed to me sometimes, you can certainly

11   accuse Madoff Securities of whatever you want, but when you say

12   "they" in this courtroom with five individuals here, people who

13   did different functions, that's problematic.

14             MR. JACKSON:     Absolutely, Judge.

15             THE COURT:    Mr. Frisch?

16             MR. FRISCH:    Your Honor, there have been a number of

17   occasions where Mr. Jackson has simply either misstated the

18   records or just made things up.       I'm going to address one of

19   them.   I think Mr. Breslin, possibly Mr. Krantz has another.             I

20   didn't want to object when it happened.         I don't like objecting

21   during an adversary's closing statement.         I may have to change

22   that preference as we go forward.

23             In talking about what was overheard by Ms. Squillari,

24   Mr. Madoff saying to his brother "Mind your own business, Dan

25   knows how everything works," it was plain that was something

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
     E3DPBON2
      Case1:10-cr-00228-LTS
      Case                      Summation
           1:16-cr-00371-RA Document
                            Document 402-2  - 04/04/14
                                               Mr.
                                           Filed
                                     944 Filed      Jackson
                                                 04/11/18  Page
                                                          Page 379 of 13 11667
                                                                   of 150

1    she heard.    There's no context whatever for it.        I believe, I

2    may have, I don't remember, objected to its admission at the

3    time, certainly questioned it.       And Mr. Jackson now says it was

4    in response to Peter questioning authority over his realm.

5    That's just made up.

6              And I think it might be prudent for the Court to hear

7    what each of us has to say with regards to that.          I request an

8    instruction that that simply isn't in the evidence because it

9    simply isn't in the evidence, and it's a very explosive piece

10   of evidence.    "Dan knows how everything works," we don't know

11   the context, but Mr. Jackson just made up his own context and

12   it's inappropriate.

13             THE COURT:    Mr. Breslin?

14             MR. BRESLIN:     The issue I rose on, your Honor, and I

15   concede that Mr. Jackson, as a matter of fairness, is entitled

16   to a certain.degree of latitude --

17             THE COURT:    You need to talk a little louder because I

18   told Ms. Prater she could stay there.

19             MR. BRESLIN:     Mr. Jackson is entitled to a certain

20   degree of latitude, your Honor, but to say that these

21   defendants controlled the trading, which he said, it not only

22   lumps them all together, but it lumps them all together in

23   something that's utterly fictional, and, really, almost

24   nonsensical after five-and-a-half months.         The idea that any of

25   these -- that there's been any testimony that any of these five

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
     E3DPBON2
      Case 1:10-cr-00228-LTS
      Case                       Summation
           1:16-cr-00371-RA Document
                             Document402-2   - 04/04/14
                                           Filed
                                      944 Filed Mr.  Jackson
                                                 04/11/18  Page40
                                                          Page         13 11670
                                                                10ofof150

1    the statement means, and it is an argument, but it is one that,

2    on this record and in the context of this case, has to be made

3    as one tied to inference from context, not a supposed

4    description of a scenario that was testified to by the witness.

5              This witness didn't say that she had heard what the

6    argument between Bernie and Peter was about.          She didn't say

7    what Bernie was reacting to there, and your inference and your

8    contextual extrapolation puts in there, as a fact of the

9    testimony about the conversation, that there was some

10   understanding or knowledge or discussion that Mr. Bonventre had

11   dominion over everything and that, of course is a highly

12   contested fact.

13             MR. JACKSON:     I agree, your Honor, it's highly

14   contested.    I think it's a fair extrapolation.         I will endeavor

15   to make a clear delineation between what is argument and what

16   is what a witness said.      I will say, your Honor, I think that

17   each one of the defense counsel during their summations

18   referenced testimony.      They made arguments about what the

19   implications were, what that meant.         There was interpretation

20   of things that were said by Frank DiPascali, what this really

21   meant.

22             THE COURT:     There was a lot of that, and a lot of that

23   was tied to specifically showing the evidence and showing the

24   testimony.    And in both the government's opening and in this

25   argument so far, there is an awful lot of absurd, broad brush,

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
     E3DPBON2
      Case 1:10-cr-00228-LTS
      Case                       Summation
           1:16-cr-00371-RA Document
                             Document402-2   - 04/04/14
                                           Filed
                                      944 Filed Mr.  Jackson
                                                 04/11/18  Page41
                                                          Page         13 11671
                                                                11ofof150

1    unbelievable, they did everything that's not tied particularly

2    to evidence.    Mr. Riopelle?

3               MR. RIOPELLE:    Indeed, your Honor.      I didn't get a

4    chance to make my objection to Mr. Jackson's statement to the

5    jury that Ms. Bongiorno ran the investment advisory business,

6    which I think way overstates her role.         And, by gosh, right

7    there on Page 2631 of Eleanor Squillari's testimony, we have

8    the following:     Annette worked for Bernie down in what I

9    originally thought was accounting, but it was the investment

10   advisory business.      She worked on the accounts downstairs."

11   That's a fair characterization of what went on.           She worked for

12   Bernie.    She didn't run it.     The evidence is completely

13   contrary to that.

14              THE COURT:    Your broad conclusions, to the extent

15   they're within the ambit of fair argument, and of course I'm

16   not even going to try to parse statement by statement, should

17   be presented as, you the jury can find from the whole body of

18   evidence here X, but don't try to put something in somebody's

19   mouth that wasn't in that person's mouth.

20              And be very careful whom you accuse of what on what

21   basis.    And don't brand each of these people with your

22   institutional thesis.      You have to prove your case with respect

23   to each individual and, obviously, it isn't seriously in

24   dispute that the institution was corrupt.          The question here is

25   whether these individuals knowingly participated in the

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
     E3DPBON2
      Case 1:10-cr-00228-LTS
      Case                       Summation
           1:16-cr-00371-RA Document
                             Document402-2   - 04/04/14
                                           Filed
                                      944 Filed Mr.  Jackson
                                                 04/11/18  Page42
                                                          Page         13 11672
                                                                12ofof150

1    corruption.    And it is, as you've embraced, the government's

2    burden to prove that, and this is not a situation in which, as

3    with the prior closing arguments any defendants are going to be

4    able to come back and say, well, that had to have been

5    hyperbole because this is what the statement was.           So you have

6    an extra responsibility both of persuasion but of accuracy and

7    precision.

8               MR. FRISCH:    And, your Honor, the reason I request

9    instruction on that particular point, I don't want to be in a

10   position of objecting during Mr. Jackson's summation going

11   forward on something like this, on this statement,

12   Mr. Bonventre knows how everything works, when it's clear

13   Miss Squillari heard nothing else.        That's such a major

14   statement on which the government is relying on, and I objected

15   to it at the time.

16              And I simply ask for an instruction that that

17   statement that Miss Squillari heard was just one thing that she

18   heard, without any other part of the conversation, something of

19   that effect.    Take the sting out of what Mr. Jackson did in

20   that regard.

21              THE COURT:    Let me ask it to you another way.        Are you

22   asking that the particular section of Ms. Squillari's testimony

23   be read?

24              MR. FRISCH:    I hadn't thought of that, but I think

25   that would be another way of doing it.

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
     E3DPBON2
      Case 1:10-cr-00228-LTS
      Case                       Summation
           1:16-cr-00371-RA Document
                             Document402-2   - 04/04/14
                                           Filed
                                      944 Filed Mr.  Jackson
                                                 04/11/18  Page43
                                                          Page         13 11673
                                                                13ofof150

1              MR. RIOPELLE:     Why don't we read 2,631, it's all on

2    the page for both of us.

3              MR. JACKSON:     Your Honor, I'd be happy, when we come

4    back from the break, to start off by just reading exactly what

5    Ms. Squillari wrote -- said in the testimony.

6              MR. FRISCH:     I guess my only problem with that is now

7    they're going to hear it twice, and now we're going to hear

8    another argument about what he said.         This is a problem

9    Mr. Jackson has created.       I don't know why he had to do it.

10             I guess if you're asking me what relief I'm seeking,

11   the relief I'm seeking is an instruction that Mr. Jackson, in

12   substance, work on the language, put more in this conversation

13   than the witness had heard.       All the witness heard was

14   Mr. Madoff's response, not what the question was or not what

15   the conversation was about.       That's the request for relief that

16   I seek.

17             (Continued on next page)

18

19

20

21

22

23

24

25

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
